
55 So.3d 287 (2010)
Ex parte James E. PRINCE, Jr.
(In re James E. Prince, Jr. v. State Department of Revenue).
1091146.
Supreme Court of Alabama.
August 6, 2010.
Jeff Patterson, Montgomery; and Richard C. Litwin of The Litwin Law Firm, P.C., Atlanta, Georgia, for petitioner.
Submitted on petitioner's brief only.
Prior report: Ala.Civ.App., 55 So.3d 273.
LYONS, Justice.
The petition for the writ of certiorari is denied.
In denying the petition for the writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Civil Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So.2d 155 (1973).
WRIT DENIED.
COBB, C.J., and STUART, BOLIN, and MURDOCK, JJ., concur.
